Case 2:21-bk-16674-ER       Doc 199 Filed 04/28/22 Entered 04/28/22 12:04:34                    Desc
                              Main Document Page 1 of 2




                                                                    FILED & ENTERED

                                                                           APR 28 2022

                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
                                                                      BY gonzalez DEPUTY CLERK




              UNITED STATES BANKRUPTCY COURT
     CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
 In re:     Jinzheng Group (USA) LLC,             Case No.: 2:21-bk-16674-ER
            Debtor.                               Chapter: 11
                                                  ORDER APPROVING STIPULATION TO
                                                  CONTINUE HEARINGS
                                                  [RELATES TO DOC. NO. 187]
                                                  CONTINUED HEARINGS:

                                                  Date:       May 17, 2022
                                                  Time:       10:00 a.m.
                                                  Location:   Courtroom 1568
                                                              Roybal Federal Building
                                                              255 East Temple Street
                                                              Los Angeles, CA 90012

    Having reviewed the Stipulation to Continue Hearing Dates [Doc. No. 187] (the
“Stipulation”), the Court HEREBY ORDERS AS FOLLOWS:

   1) The Stipulation is APPROVED.
   2) The hearings on the following motions (collectively, the “Motions”) are CONTINUED
      from May 4, 2022 at 10:00 a.m. to May 17, 2022 at 10:00 a.m.:
      a) Application for an Order Authorizing and Approving the Employment of Pachulski
         Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured
         Creditors, Effective as of January 25, 2022 [Doc. No. 98];
      b) Motion to Change Membership and Disband Official Committee of Unsecured
         Creditors Pursuant to 11 U.S.C. §§ 1102(a)(4) and 105(a) [Doc. No. 135];
      c) Motion for (I) the Appointment of a Chapter 11 Trustee, or in the Alternative, (II) (A)
         Termination of Plan and Solicitation Exclusivities and (B) Authorizing Standing for
         the Committee of Creditors Holding Unsecured Claims to Prosecute Actions Against
         Insiders of the Debtor [Doc. No. 136];
Case 2:21-bk-16674-ER       Doc 199 Filed 04/28/22 Entered 04/28/22 12:04:34              Desc
                              Main Document Page 2 of 2



      d) Second Motion of Debtor for Order Extending Debtor’s Exclusivity Period to File
          Chapter 11 Plan and Solicit Acceptances Thereto [Doc. No. 169].
   3) The briefing deadlines on the Motions shall be calculated in accordance with the Local
      Bankruptcy Rules based upon the continued hearing date.
   4) Parties may appear at the continued hearings either in-person or by telephone. The use of
      face masks in the courtroom is optional. Parties electing to appear by telephone should
      contact CourtCall at 888-882-6878 no later than one hour before the hearing.

   IT IS SO ORDERED.
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     Date: April 28, 2022
